. State of Oklahoma
Performance Management Process (PMP)

Job Title ~

Section A ID .
School Counselor Spcciatin ‘AWARE

171027

Name (LAST; First, MLL):
Janessa Bointy

PLN,
“Required

(East)

Supervisor

Cheryl McGee
Program Manager
Project AWARE

Reason for PMP
Closeout

End Date
42/3 1/2021

] Start Pate -
“12/28/2020

Agency
OSDE 265

“Organizational UnivDivision
Student Support.

Job Code
Required

Section By Accountahilities (Tasks + Performance Siaudards)

Rating

1. Direct the development of long-range plans, goals and objectives related to soclal/emotional development, trauma-
informed schools’ practices, at-risk student identification and student success within AWARE East LEA,

Desiguation: . important

Meets Standards

Resnlts:

2, Organize, implement, and encourage state, regional and district improvement jn school counseling programs
through professional development focused on assuring that all participants achieve increased capacity to assist
students; and create and deliver meaningful and articulate presentations to State Board of Education members and
legislators,

Designation: Critical

Meets Standards

Results:
Janessa works strategically with her assigned LEAs in the AWARE East region to really look at the school counseling

programs and how thelr work is crucial within MTSS and student support inltlatlves, Stakeholders value her
engagement and take the skis and implement them into (heir local engagenient efforts,

3, Work directly with AWARE LEAs on implementation of a comprehensive schoo) counseling framework and SEL
competencies,

Deslonation: Critical

Meets Standards

Results:

Janessa continues fo align the AWARE Counseling teams in each LBA to best practice for school counselors and really

heips sites to capture needed tools lo lift SEL and’school climate practices.

4, Stay informed of new trends, dingnostic and evaluation techniques, curriculum materials, curriculum integration
and technology:

Designation: Critical

Meets Standards

Results:

OPN-114 REVISED (8/06)

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Designation: Important

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EMPL ID Janessa Bointy : School Counselor Specialist AWARE ‘Required —
Required : - . | (Bast)
Section Bi Accountabilittes (Tasks + Performance Staidards) . , Rating
5, Work directly with AWARE LEAs on MTSS implementation with a focus on SEL and Mental Health supports.
els Standards
. Resignation; Critica - Me andard
‘Resutts:
Janessa works with the AWARE LEAs, SWIFT MTSS trainers/partners In this work. OSDE team, and ODMHSAS
team to support SEL and MH imptementation.
G. Attend all required AWARB meetings with LEAs and OSDE AWARE leadership to streamline progress.on goats
and objectives of the AWARE grat.
Meets Standard
Designation: Crittcal ares
Resulfs:
7, Provide consistent virtual and in/person counseling oversight to the AWARE (EastyLEAs. Train AWARE LEA
counselors with OSDE approved trainings regarding best practices and The Oklahoma School Counselor Framework,
Meets Standards

Resutts:
anessa continues to meet with key stakeholders in person and virtually to meet their needs and continues to
motivate teaming and dreaming sessions (o lift the work of AWARE,

Designation:

Resulis:

For Supervisors/Managers Only

9, Performance Management Accountability:

.. Provides continuous feedback to employees using speclfie terms regarding work performance
«» Conducts annual perfomance appraisals according to policy

-- Heips employees identify areas of strength and areas for development

.- Instructs and demonstrates ways that employees’ may improve performance or gain new skiils
-- Encourages feedback from employees regarding performance management

we Other?

Designation: Not Applicable

Results:

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EMPL ID Janessa Bointy so School Counselor Specialist AWARE Required
Required . (East) .

Section C: Overall Accountability Rating —

** fall Accountabilities are Meets Standards of below, then the Overall Accountability Rating cannot be Exceeds Standards.

* Ifany critical Accountability is Does Not Meet Standards, then the Overall Accountability Rating cannot be Exceeds Standards,

* If any three Accountabilities are either Needs Improvement or Does Not Meet Standards, then the Overall Accountability Rating cannot
be Exceeds Standards. ,

Overall Accountability Rating:

(Enter the Overall Accountability Rating again in Section B.)
Section DB: Behaviors ‘ — , Rating
!, Customer Service Orientation
Develops a clear understanding of customers’ needs and goals, maintains clear communication with customers regarding
expectations and firae frames; follows through and responds to customers’ requests, questions and complaints in a timely
manner; follows up with customers afier a problem has been resolved to inform them of any action taken: takes personal
responsibility for meeting commitments and correcting problems; responds catmly under pressure, Meets

Standards

Results:

2. Teamwork

Offers to help and pitches in to get the job done; works well with others when resolving common issties or problems;
does not hesitate to praise and give credit to co-workers when-they have done a good job; keeps others informed and up-
to-date about tasks or projects: gives suppor! to others by providing detailed instructions; works effectively with others:
to resolve a common issues or problems; listens to and seeks others’ perspective on how to complete work assignments. Meets

Standards

Results:

A domain for improvement within this category is Keeping others informed and up to date on tasks or projects currently In
he works or being developed. Trying to negotiate where this role is going since thls title has Hot existed prior,

3. Problem-Solving Initiative

Solves problems ina timely way: identifies the cause of problems and finds the necessary resources and information to
solve the problems: uses experience to recognize immediate problems and issues; breaks problems down into lists of
tasks, issues or activities: sets priorities on tasks and activities that compete for attention; recognizes when information is
missing, incomplete or wrong; understands and js able to discuss the logical sequence of events when solving problems

or working on a project: re-sets priorities based on changing needs or new requests. Meets
Standards

Results;

4, Leadership

Sets priorities to align work with and in support of agency or division goals; plans and leads meetings to ensure that
issues are discussed, and agendas are met; provides others with Gmely and accurate feedback; gains aecess to
resources in a timely manner recommends changes In work methods to improve performance in the agency or
division; asks for others’ opinions, ideas and recommendations to involve others'in improving the work situation, Meets

Standards

Results;
Janessa always brings thoughts to the OSDE tean) regarding program objectives and looks for Innovative ways to
streamline the work and provide LEAs with the support they need lo do the work,

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EMPL ID Janessa Bointy School Counselor Specialist AWARE — [Required
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Section D: Behaviors - : . Rating

5, Ghserving Work Hours and Using Leave (Do nar consider any leave that is approved under PMLA.) .

| Arrives at work on time: is punctual with lunch hour and break periods; makes productive use of work tne, focusing on
assigned daties and tasks: ensures thal work does not suffer If personal business interrupts the workday; In use of sick

leave, notifies supervisor Ina Gmely manner in accordance with agency polley; takes into account work flow issues

whon requesting annual leave or taking breaks.

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Improvement.
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Results;

Hanessa could improve within this category regarding punctuality, productive use of work lime, focusing on assigned
duties and tasks, and ensuring thal personal business docsn't interrupt the workday. It should be noted that Janessa has
observed agency policy with regards {o annual leave requests and meets standards there, Janessa has had to adjust this
year to what working in the field entails, There have been times that fier observation of work hours has not aligned fully
with field expectations. Janessa struggles at times cesponding promptly to email and other forms of work-related
communication from team snembers and supervisor during regular work hours,

Section E: Overali Performance Rating
1, Enter the Overall Accountability Rating (irom Section C);

Overall Accountability Rating;
2, To arrive at an Overall Porformance Rating, consider the ratings on (he Behaviors:

*If two or more Behaviors are Docs Not Meet Standards, then the Overall Performance Rating mist be one level lower than the
Overall Accountability Rating.

* If two or more Behaviors sve Exceeds Standards, then the Overall Performance Rating may be one level higher than the Overall
Accountability Rating.

3, Record the Overall Performance Rating:
Overall Performance Rating: Meets Standards

Section F: Summary / Development Plan

Performance Strengths:

Janessa is competent in domains aligned to school counseling and student supports. She exhibits a helpful supportive demeanor when

engaging with community stakeholders, LEA staff/educators, and OSDE collaborators, She brings humor and fun to her work aad
interactions.

Performance Areas for Development:

Optimizing daily schedule. a line audil may be helpful due to field work and may help prioritize workQow.

Improve on communication with team members and collaborate amongst like disciplines to build AWARE to the noxt level within
AWARE. Being more timely and more concise with Time and Effort, what is happening in a typical work day and week and if open times
are available if reaching out to the team to see what components can be resourced or helped with.

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EMPL JD "| Janessa Bointy —~ School Counselor Specialist AWARE ° | Required
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Development Plan:

Jonegsa will work alongside supervisor to improve communication with regards to daily tasks, schedules, cte, It should be noted that this
domnin is already happening, asd Janessa Is aware and making strides to continue improvement. Ifa lime audit is warranted, we wlil fook
. | to implementing that and/or removing her role from fleld to office based for continuity and accountability, Time management and

continued growth in streamlining the cheeks and balances to state level reporting procedures. Janessa's success if her current role is the
upmost Importance (o her supervisor. Supervisor will continue to empower, guide, and support all areas of needed development.

OPM-1141 REVISED (6/05)

